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                            UNITED STATESDISTRICT COURT
                            SOU TH ERN D ISTR ICT O F FLO R IDA
                      CA SE N O :19-21625-CV -G AY LES/O TA Z O -M YES
GR OV E GAR DEN M SID EN CES
CON D OM IN IU M A SSO CIA TION ,IN C.,

      Plaintift


RO CKH ILL IN SU RAN CE COM PAN Y and
CEIW AFN UNDERW RITERSAT LLOYD'S,
LOND ON ,

      Defendants.
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                               O RD ER RE :PRIVILE GE LO G

      THIS CAUSE came before the Courtupon Plaintiff Grove Garden Residences Condom inium

Association,Inc.'s(idplaintiff')objectionsto DefendantRockhillInsurance Company's (itlkockhill'')
attorney-clientprivilegeclaims ED.E.152,152-1q. Haviné.cori
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relevantdocum ents,whjch were submitted by Plaintiff,and having considered the arguments of
counselED.E.157,164,166j,itis
      ORDERED AND ADM            GED that      #laintiff's attorney-client Privilege claims ?or the
docum entslisted in D .E.152.1aresustained.
      DONEAND ORDERED inChambersatM iami,Floridathis IX*day ofM arch,2020.

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                                                 ALtCIA M .OTAZO-         ES
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cc:   United StatesDistrictJudgeDarrin P.Gayles
      CounselofRecord
